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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    WHIRLPOOL PROPERTIES, INC.,
    WHIRLPOOL CORPORATION,
    MAYTAG PROPERTIES, LLC,                            Civil Action No. 2:20-CV-00042-JRG

    Plaintiffs,

    v.

    ASSCON INTERNATIONAL COMPANY
    LIMITED LLC

    Defendant.


                       PLAINTIFFS’ APPLICATION FOR ISSUANCE OF
                        WRIT OF GARNISHMENT AFTER JUDGMENT

           In this application Plaintiffs, Whirlpool Corporation, Whirlpool Properties, Inc., and

Maytag Properties, LLC (collectively, “Plaintiffs” or “Whirlpool”), hereby request that this

Honorable Court issue a writ of garnishment after judgment, pursuant to Fed. R. Civ. P. 64 and

Tex. Civ. Prac. & Rem. Code §§ 63.001 - .008, as to PayPal Inc. (“Garnishee”), and as grounds

therefore, states as follows:

                                        STATEMENT OF FACTS

           On April 27, 2020, this Court entered a Final Default Judgment and Permanent Injunction

(the “Permanent Injunction”) (the “Judgment”) in this matter in favor of Whirlpool and against

Defendant Asscon International Company Limited LLC (“Asscon” or “Defendant”).1 (Docket No.




1
 By Order dated February 18, 2020, this Court severed this case from the Lead Case Number
2:19-cv-00151-JRG, designating this action a Member Case, see Whirlpool Properties, Inc. v.
Asscon Int’l Co. Ltd, et al, Case No. 19-cv-00151-JRG, Dkt. No 76. The Court severed claims
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3.) In the Judgment, the Court awarded statutory damages of $919,706.37 in favor of Whirlpool

and against Defendant pursuant to 35 U.S.C. § 284 and $156,072.50 against Defendant pursuant

to 35 U.S.C. § 285. To date, the Judgment remains outstanding and has not been satisfied.

                                           ARGUMENT

       Garnishment is an available remedy in satisfaction of a final judgment. FED. R. CIV. P.

64(a). In the State of Texas, a writ of garnishment is available if the plaintiff has a valid,

subsisting judgment and makes an affidavit stating that, within plaintiff’s knowledge, the

defendant does not possess property in Texas subject to execution sufficient to satisfy the

judgment. TEX. CIV. PRAC. & REM. CODE § 63.001(3).

       The Judgment in this action is final, is not currently on appeal, does not have a supersedeas

bond, and does not have a pending motion that would preclude the issuance of the writ. Defendant

does not possess property in Texas subject to execution to satisfy the Judgment against it.

Defendant continues to hide and evade from this substantial unsatisfied Judgment. Defendant has

done business using the PayPal accounts identified on Schedule “A” hereto. It is not possible for

Whirlpool to determine the exact amount of money present in Garnishee’s possession at this time.

Accordingly, Whirlpool seeks garnishment in the amount of $1,075,778.87 which does not exceed

the total Judgment amount.

       WHEREFORE, Plaintiffs, Whirlpool Corporation, Whirlpool Properties, Inc., and Maytag

Properties, LLC, request that said Writ of Garnishment be entered against PayPal, Inc.




against CSWY International Limited (“CSWY”) into a second Member Case, Case Number 20-
cv-00043-JRG.

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Dated: March 22, 2021              Respectfully submitted

                                    __/s/ Melissa R. Smith
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                                   ATTORNEYS FOR PLAINTIFFS,
                                   WHIRLPOOL PROPERTIES,
                                   INC., WHIRLPOOL
                                   CORPORATION, AND MAYTAG
                                   PROPERTIES, LLC




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                            SCHEDULE “A”
                        SUBJECT DOMAIN NAMES
                        AND PAYPAL ACCOUNTS

                  Subject Domain
                                           PayPal Account
                        Name
                Clatterans.com       info@clatterans.com
                Clatteransonline.com gsslxxrp@limei-trading.com




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 22, 2021, I electronically filed the
foregoing with the Court of Clerk by using the CM/ECF system, a copy of which will be served
upon all counsel of record registered with the CM/ECF system via Notice of Electronic Filing.




                                                          /s/ Melissa R. Smith




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